                          UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION
                                No. 5:06-cv-00400-BR



SUELLEN E. BEAULIEU, et al,                                              ORDER

     Plaintiffs
                                                              This Document Relates To:
     v.                                                             ALL CASES

EQ INDUSTRIAL SERVICES, INC., et
al,

     Defendants.


           This matter is before the court on the parties’ joint motion to approve final

accounting and authorize escrow agent to release funds. The motion is ALLOWED. It is

ORDERED that Wells Fargo Bank, N.A. is hereby directed to transfer from the Common

Settlement Fund the total amount of $2,254,660.021 to the Settlement Administrator to be

paid as follows:

1.         $80,000 to a Cy Pres Sub-Fund for the public benefit of the citizens of the Town

           of Apex, North Carolina;

2.         $86,822.22 to Chartis Speciality Insurance Company for reimbursement for prior

           payments;

3.         $1,991,883.242 to Chartis Speciality Insurance Company for its pro rata share of

           the remaining settlement funds;




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          The motion and memorandum indicate that the remaining balance in the Common Settlement
Fund is $2,251.660.02. Actually, the balance is $3,000 higher, or $2,225,466.02, which includes the
unallocated attorneys’ fees. (See Mem., Ex. A at 6.)
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         The motion and memorandum identify the amount as $1,991,803.24. The amount is actually
$1,991,883.24. (Mem., Ex. A. at 7.)
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4.     $46,477.28 to Allworth, Inc. for its pro rata share of the remaining settlement

       funds;

5.     $46,477.28 to Mobile Aerospace Engineering, Inc. for its pro rata share of the

       remaining settlement funds;

6.     $1,001.67 to Henry Dart for his pro rata share of unallocated attorneys’ fees;

7.     $75.51 to Donald Dunn for his pro rata share of unallocated attorneys’ fees;

8.     $744.96 to M. David Karnas for his pro rata share of unallocated attorneys’ fees;

9.     $392.61 to J. Michael Malone for his pro rata share of unallocated attorneys’ fees;

10.    $75.51 to Roger Orland for his pro rata share of unallocated attorneys’ fees;

11.    $35.25 to Jesse Shapiro for his pro rata share of unallocated attorneys’ fees; and

12.    $674.49 to Robert Zaytoun for his pro rata share of unallocated attorneys’ fees.

       It is further ORDERED that Wells Fargo Bank, N.A. is hereby directed to transfer

from the Cost Sub-Fund the total amount of $345,586.09 to the Settlement Administrator

to be paid as follows:

1.     $52,507.80 to the Settlement Administrator to pay the final bill for his fees and

       costs;

2.     $80,889.61 to Henry Dart for litigation costs and expenses;

3.     $3,604.86 to Donald Dunn for litigation costs and expenses;

4.     $63,187.68 to M. David Karnas for litigation costs and expenses;

5.     $32,736.84 to J. Michael Malone for litigation costs and expenses;

6.     $60,755.13 to Roger Orland for litigation costs and expenses; and

7.     $51,904.17 to Robert Zaytoun for litigation costs and expenses.




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      Finally, having been informed on 28 November 2011 by defense counsel that the

parties had resolved plaintiffs’ motion to compel payment for overdue expert witness

costs and sanctions, that motion is DENIED WITHOUT PREJUDICE.

      This 14 March 2012.




                                         __________________________________
                                               W. Earl Britt
                                               Senior U.S. District Judge




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